      Case 1:21-cv-04099-JLR-RWL Document 53 Filed 01/04/22 Page 1 of 1


                                                                 USDC SDNY
UNITED STATES DISTRICT COURT                                     DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                    ELECTRONICALLY FILED
 DONALD HESS and ELIZABETH                                       DOC #:
 PADILLA, individually and on behalf of                          DATE FILED: 1/4/2022
 all others similarly situated,

                             Plaintiffs,

              -against-                                                  21 Civ. 4099 (AT)

 BED BATH & BEYOND INC.,                                                      ORDER

                        Defendant.
ANALISA TORRES, District Judge:

        The Court has reviewed the parties’ letters dated December 23 and 28, 2021. ECF Nos. 51,
52. Defendant requests that (1) the Court construe its pending motion to dismiss Plaintiff’s first
amended complaint as a motion to dismiss the second amended complaint and; (2) grant Defendant
leave to file a subsequent dispositive motion to address tolling issues. The requests are DENIED.
Defendant’s pending motion to dismiss the first amended complaint, ECF Nos. 31 and 34, is
DENIED without prejudice to renewal. Accordingly:

   1. By February 8, 2022, Defendant shall file a motion to dismiss Plaintiff’s second amended
      complaint, which shall incorporate any arguments as to tolling issues raised by Defendants;
   2. By March 1, 2022, Plaintiff shall file their opposition papers;
   3. By March 15, 2022, Defendant shall file its reply, if any.

        The renewed motion and Defendant’s reply shall comply with the page limitations stipulated
in the Court’s Individual Practices in Civil Cases III(D).

        The Clerk of Court is directed to terminate the motions pending at ECF Nos. 31, 34, and 51.

       SO ORDERED.

Dated: January 4, 2022
       New York, New York
